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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


    LITTLE SISTERS OF THE POOR HOME
    FOR THE AGED, DENVER, COLORADO,
    et al.,

             Plaintiffs,

    v.

    ALEX AZAR, Secretary of the United States
    Department of Health and Human Services, et
    al.,
                                                                     No. 13-cv-2611-WJM
             Defendants.
                                                                 Honorable William J. Martínez



                                                  NOTICE

         Further to the Court’s order extending time, Plaintiffs Little Sisters of the Poor, et al., hereby

   notify the Court that they will not file a fees motion, as the parties have resolved the matter.

            January 28, 2019                        Respectfully submitted,

                                                    /s Mark Rienzi
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                                  CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was electronically filed with the Court’s ECF

   system on January 28, 2019, and was thereby electronically served on counsel for Defendants.



                                                  s/ Mark L. Rienzi______________
                                                  Mark L. Rienzi
                                                  Counsel for Plaintiffs




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